Case 3:98-cv-02217-RGJ-KLH Document 26 Filed 03/21/00 Page 1 of 11 PagelD #: 79

 

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SE eVWELL

AVYON GARR

VERSUS

WESTERN SIZZLER AND KEITH
ALBRITTON

MONROE DIVISION

DISTRICT og
WESTERN DISTRICT OF | ugh
FIL ety LOUISIANA

UNITED STATES DISTRICT COURT

MAR 21 2009

~ SHIMWELL, CLERK

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CIVIL ACTION NO. 98-2217

JUDGE JAMES
MAGISTRATE HAYES

MOTION TO COMPEL RESPONSES TO DISCOVERY

NOW INTO COURT,
SIZZLIN

complaint) and KEITH ALBRITTON,

through undersigned counsel,

defendants,

comes WESTERN

(incorrectly named as Western Sizzler in the original

who file this their

motion to compel responses to discovery, and respectfully show the

Court as follows:
1.
Pursuant to the scheduling

January, 5, 2000, the deadline

extended to March 21, 2000.

2.
Defendant, Keith Albritton,
request for admissions, interrogat

to Plaintiff on November 15, 1999

order issued by this Court on

for completing discovery was

propounded his first set of

ories, and request for production
See copy of November 15, 1999

 
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correspondence to George Britton, with attached discovery requests,
certified mail article 2138454647, attached as Exhibit A.
3.
Plaintiff has not responded to Albritton’s discovery requests.
4.

Despite correspondence and telephone calls to Plaintiff’s
counsel (which has been ignored except for the phone call referred
to in paragraph 5), and the best efforts of counsel for defendants,
the undersigned has not been able to schedule the deposition of
Plaintiff, or obtain responses to discovery propounded on behalf of
defendant Albritton. See attached copy of January 25, 2000
correspondence to George W. Britton, III, identified as Exhibit B.

5.

A motion to compel was “filed” earlier but a deficiency notice
was returned by the Clerk's office. In the meantime, counsel for
the plaintiff called the undersigned counsel and stated the
discovery would be forthcoming. As a result, counsel did not cure
the deficiency. No discovery has been served, so defendant is
refiling a motion to compel.

WHEREFORE, DEFENDANTS PRAY that this Court enter an order

compelling Plaintiff to respond to Defendants’ discovery requests.

 
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COOK, YANCEY, KING & GALLOWAY

By: Bujee. Dri

Brycé J. Denny, #22763
J. Todd Benson, #23648

333 Texas Street, Suite 1700
P. O. Box 22260

Shreveport, LA 71120-2260
(318) 221-6277

ATTORNEYS FOR DEFENDANTS

CERTIFICATE

I HEREBY CERTIFY that a copy of the above and foregoing has

been served on all counsel of record by placing a copy of same in

the United States mail, properly addressed, and with adequate

postage affixed thereon.

Shreveport, Louisiana, this Zi day of WA ~ ,

2000.

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OF COUNSEL

 

 
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Case 3:98-cv-02217-RGJ-KLH Document 26 Filed 03/21/00 Page 4 of 11 PagelD #: 82

CERTIFICATE OF CONFERENCE
I HEREBY CERTIFY that I attempted to confer with counsel for

Plaintiff, Mr. George W. Britt about this discovery (see

   
 

paragraph 5 of this pleading).

 

OF COUNSEE |

 

 

 
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Bryce J. Denny* TELEPHONE (318) 221-6277

Board Certified - Labor Law November 15, 1999 TELECOPIER (318) 227-7850
Texas Board of Legal Specialization

Writer’s Direct

(318) 227-7747
dennyb@cykg.com

*Also admitted in Texas

Mr. George W. Britton, III
700 South Grand
Monroe, LA 71201

Re: Avyon Garr v. Western Sizzlin and Keith Albritton; Cause
No. 98-2217, USDC, Western District of Louisiana, Monroe
Division
_ Dear Mr. Britton:

I am enclosing Defendant. Keith Albritton’s First Set of Request for
Admissions, Interrogatories, and Request for Production to your.
client. Please respond to these discovery requests within the time
allowed by law.

Yours very truly,

Tore T. Seno Lrorry

Bryce J. Denny

BJD:nsm
Enclosures (via Certified Mail #2138454647)

~ EXHIBIT

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dennyb@cykg.com

*Also admitted in Texas

Mr. George W. Britton, III -
700 South Grand
Monroe, LA 71201

Re: Avyon Garr v. Western Sizzlin and Keith Albritton; Cause
No. 98-2217, USDC, Western District of Louisiana, Monroe
Division

Dear Mr. Britton:

I have not yet received a copy of the plaintiff's witness list
in the captioned matter. Also, discovery was propounded to
plaintiff on behalf of Keith Albritton on November 15, 1999. I
would appreciate plaintiff’s witness list and discovery responses
at your earliest convenience.

The discovery deadline is less than thirty days away. Please
provide me with your available dates so that we may schedule the
plaintiff’s deposition, as well as the depositions of any Western
Sizzlin employees that you would like to take.

Please call me at your convenience to discuss this matter.

Yours very truly,

Bed OV ows

Bryce J. Denny

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BJD: abw
cc: Mr. Keith Albritton :

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"= EXHIBIT

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TRICT COURT
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_<:’ UNITED STATES DISTRICT COURT MAR 21 2000
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tos van BY —“SEPUTY
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oe" “MONROE DIVISION
OY Eat
AVYON GARR
VERSUS CIVIL ACTION NO. 98-2217
WESTERN SIZZLER AND KEITH JUDGE JAMES
ALBRITTON MAGISTRATE HAYES

DEFENDANTS’ MEMORANDUM IN SUPPORT OF ITS
MOTION TO COMPEL RESPONSES TO DISCOVERY

MAY IT PLEASE THE COURT:

1. Rules 33, 34 and 36 of the Federal Rules of Civil
Procedure require a party to answer discovery within thirty (30)
days.

2. Plaintiff was served with discovery on November 15, 1999,
and has never answered discovery. As a npeete plaintiff has not
complied with the rules and should be orddred © answer discovery.

COOK, , KING & GALLOWAY

 

 

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ATTORNEYS FOR DEFENDANTS

 

 
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Case 3:98-cv-02217-RGJ-KLH Document 26 Filed 03/21/00 Page 9 of 11 PagelD #: 87

CERTIFICATE

I HEREBY CERTIFY that a copy of the above and foregoing has

been served on all counsel of record by placing a copy of same in
the United States mail, properly addressed, and with adequate

postage affixed thereon.

 
 

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2000. / I

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“ / GP: COUNSEL

Shreveport, Louisiana, this, ~

 

 
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Case 3:98-cv-02217-RGJ-KLH Document 26 Filed 03/21/00 Page 10 of 11 PagelD#: 88

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MAR 21 2000 UNITED STATES: DISTRICT COURT
ROBERT H. SHENNER WESTERN ‘HIGHRE¢T FOR, LOUISIANA
ROmeERN DISTRICT C1

SHREVEPOR?. a

MONROE -PEVISION
BY ee TG,
AVYON GARR
VERSUS CIVIL ACTION NO. 98-2217
WESTERN SIZZLER AND KEITH JUDGE JAMES
ALBRITTON MAGISTRATE HAYES
ORDER

 

THE FOREGOING MOTION CONSIDERED:
IT IS HEREBY ORDERED that the Plaintiff show cause

, 2000, why he has not responded

 

Defendants’ discovery requests.

 

United States District Judge

on

to

 
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Case 3:98-cv-02217-RGJ-KLH Document 26 Filed 03/21/00 Page 11 of 11 PagelD #: 89

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Mr. Robert H. Shemwell
U.S. District Clerk

1167 Federal Bldg.

300 Fannin St.
Shreveport, LA 71101-3083

 
      

3s. Avyon Ga
3! 98-2217,
Division

v. Western Sizzlin and Keith Albritton; Cause No.
USDC, Western District of Louisiana, Monroe

  

    

Dear Mr. Shemwell:

Please find enclosed an original and one copy of Defendant’s Motion to
Compel Responses to Discovery and Memorandum in Support thereof, along
with an appropriate Order. Please file the original and file stamp the
copy and return same to my messenger. Please submit the Order to the
Judge for approval and execution.

By copy of this letter I am providing opposing counsel with a copy of
this document.

Thank you for your assistance.

Yo er 1
hq=, Ag Bryce J. Denn
MAW)
BJD: jsa : ou
cc: Mr. George wihZpSitto (w/encl.)
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